                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

ACUITY, A MUTUAL INSURANCE        )
COMPANY,                          )
                                  )                 Case No.:      4:24-cv-01277
          Plaintiff,              )
                                  )
v.                                )
                                  )
RIVERDALE PACKAGING CORP., et al. )
                                  )
          Defendants.             )

  JOINT ANSWER OF DEFENDANTS RIVERDALE PACKAGING CORPORATION
    AND LORA PROPERTY INVESTMENTS, LLC TO PLAINTIFF’S AMENDED
                           COMPLAINT

        Defendants Riverdale Packaging Corporation (“Riverdale”) and Lora Property

Investments, LLC (“Lora”) (together with Riverdale as “Defendants”), by and through their

undersigned counsel, for the Answer to Plaintiff Acuity, A Mutual Insurance Company’s

(“Acuity”) Amended Complaint (the “Complaint”), state as follows:

                                Parties, Jurisdiction & Venue

        1.    Defendants state that they lack knowledge or information sufficient to form a belief

as to the truth of the averments contained in Paragraph 1 of the Complaint and therefore deny the

same.

        2.    Defendants state that they lack knowledge or information sufficient to form a belief

as to the truth of the averments contained in Paragraph 2 of the Complaint and therefore deny the

same.

        3.    Defendants admit the averments contained in Paragraph 3 of the Complaint.
        4.    Defendants admit the averments contained in Paragraph 4 of the Complaint.

        5.    Defendants state that they lack knowledge or information sufficient to form a belief

as to the truth of the averments contained in Paragraph 5 of the Complaint and therefore deny the

same.

        6.    Defendants state that they lack knowledge or information sufficient to form a belief

as to the truth of the averments contained in Paragraph 6 of the Complaint and therefore deny the

same.

        7.    Defendants state that they lack knowledge or information sufficient to form a belief

as to the truth of the averments contained in Paragraph 7 of the Complaint and therefore deny the

same.

        8.    Defendants admit the averments contained in Paragraph 8 of the Complaint.

        9.    Defendants state that the averments contained in Paragraph 9 of the Complaint

consist only of legal conclusions to which no response is required. To the extent a response is

required, Defendants deny the same.

        10.   Defendants admit the averments contained in Paragraph 10 of the Complaint.

        11.   Defendants admit the averments contained in Paragraph 11 of the Complaint.

                                 Facts Common to All Counts

        12.   Defendants admit the averments contained in Paragraph 12 of the Complaint.

        13.   Defendants admit the averments contained in Paragraph 13 of the Complaint.

        14.   Defendants admit the averments contained in Paragraph 14 of the Complaint.

        15.   Defendants admit the averments contained in Paragraph 15 of the Complaint.

        16.   Defendants admit the averments contained in Paragraph 16 of the Complaint.
        17.    Defendants admit that they suffered a casualty entitling them to coverage under the

insurance policy identified in the Complaint, but deny that the casualty was solely caused by rain

and therefore denied all other averments contained in Paragraph 17 of the Complaint.

        18.    Defendants admit the averments contained in Paragraph 18 of the Complaint.

        19.    Defendants admit the averments contained in Paragraph 19 of the Complaint.

        20.    Defendants admit the averments contained in Paragraph 20 of the Complaint.

        21.    Defendants admit the averments contained in Paragraph 21 of the Complaint.

        22.    Defendants admit the averments contained in Paragraph 22 of the Complaint.

        23.    Defendants admit the averments contained in Paragraph 23 of the Complaint.

        24.    Defendants state that they lack knowledge or information sufficient to form a belief

as to the truth of the averments contained in Paragraph 24 of the Complaint and therefore deny the

same.

        25.    Defendants state that they lack knowledge or information sufficient to form a belief

as to the truth of the averments contained in Paragraph 25 of the Complaint and therefore deny the

same.

        26.    Defendants state that they lack knowledge or information sufficient to form a belief

as to the truth of the averments contained in Paragraph 26 of the Complaint and therefore deny the

same.

        27.    Defendants state that they lack knowledge or information sufficient to form a belief

as to the truth of the averments contained in Paragraph 27 of the Complaint and therefore deny the

same.
        28.    Defendants state that they lack knowledge or information sufficient to form a belief

as to the truth of the averments contained in Paragraph 28 of the Complaint and therefore deny the

same.

                           COUNT I: DECLARATORY JUDGMENT

        29.    Defendants incorporate by reference their above responses to Paragraphs 1 through

28 of the Complaint as if fully set forth herein.

        30.     Defendants state that the averments contained in Paragraph 30 of the Complaint

consist only of legal conclusions to which no response is required. To the extent a response is

required, Defendants deny the same.

        31.      Defendants state that the averments contained in Paragraph 31 of the Complaint

consist only of legal conclusions to which no response is required. To the extent a response is

required, Defendants deny the same.

        32.     Defendants state that the averments contained in Paragraph 32 of the Complaint

consist only of legal conclusions to which no response is required. To the extent a response is

required, Defendants deny the same.

        WHEREFORE, having fully answered Plaintiff’s Complaint, Defendants further state that

they are a party to this case solely as nominal defendants, and take no position at this time as to

whether any party is entitled to a declaration in this case.
                                     Respectfully submitted:

                                     CAPES, SOKOL, GOODMAN & SARACHAN, P.C.

                                     By:         /s/ Zachary R. McMichael
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                                     Attorneys for Defendants Riverdale Packaging
                                     Corporation and Lora Property Investments, LLC


                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and accurate copy of the foregoing was served
on all parties of record by operation of the Court’s electronic case filing and case management
system on this 7th day of November, 2024.


                                                 /s/ Zachary R. McMichael
